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                             UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

    UNITED STATES OF AMERICA

    VS.                                                       CASE NO: 6:20-cr-97-GAP-LRH

    JOEL MICAH GREENBERG



                                                 ORDER
           In accordance with Local Rule 7.02(a)(2), Mike Schneider of the Associated Press is

    authorized to bring his iPhone into the courthouse for the limited purpose of attending the change

    of plea hearing before the undersigned, scheduled for Monday, May 17, 2021 at 10:00 a.m. Mr.

    Schneider must present a copy of this Order, along with his media credentials, to the Court Security

    Officers and allow for a security inspection of his iPhone if requested by the Officers. Mr.

    Schneider’s iPhone must be on silent while in the courtroom, and photography, recording, or live

    transmission of any kind from the courtroom is strictly prohibited. See Local Rule 5.01.

           DONE and ORDERED in Orlando, Florida on May 13, 2021.
